                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-1873
                     Lower Tribunal No. CF22-001316-XX
                      _____________________________

                             CHARLES E. KING, JR.,

                                  Appellant,
                                       v.

                              STATE OF FLORIDA,

                                   Appellee.
                      _____________________________

                 Appeal from the Circuit Court for Polk County.
                           Dennis P. Maloney, Judge.

                               August 27, 2024

PER CURIAM.

      AFFIRMED.

NARDELLA and BROWNLEE, JJ., and LAMBERT, B.D., Associate Judge, concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Kevin Briggs, Assistant Public
Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Helene S. Parnes, Senior
Assistant Attorney General, Tampa, for Appellee.


  NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
           AND DISPOSITION THEREOF IF TIMELY FILED
